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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ROBERT HOSSFELD, individually and on            )
behalf of a class of all persons and entities   )   Case No. 1:20-cv-07091
similarly situated,                             )
                Plaintiff,                      )
                                                )
       v.                                       )   Hon. Judge Joan B. Gottschall
                                                )   Hon. Mag. Judge Sunil R. Harjani
ALLSTATE INSURANCE COMPANY,                     )
           Defendant.                           )

                PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
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                                         EXHIBIT LIST

       Plaintiff is concurrently filing a motion for summary judgment. For consistency – and

hopefully clarity – Plaintiff has coordinated exhibit letters and designations here with those

referenced in his Statement of Material Fact. The only exhibit here that is not referenced in the

Statement of Material Fact is Ex.W, the Declaration of Alexander H. Burke.

       Items with an asterisk (*) have been filed provisionally under seal pursuant to Plaintiff’s

Motion for Leave to File Under Seal, Dkt. 144. Plaintiff is publicly filing redacted copies of such

exhibits wherever possible.

A.     Allstate’s DNC Policy

B.     1st Lim Deposition Transcript

C.     2d Lim Deposition Transcript*

D.     Basit Deposition Transcript

F.     Marovitch FRE 1006 Summary

       F.1     Allstate IDNC List Production Email

       F.2     Allstate IDNC List Excerpt*

       F.3     Transfer Kings IDNC List*

       F.4     Phone Number Matches of Allstate and Transfer Kings IDNC Lists*

       F.5     Combined Transfer Kings/Atlantic Allstate Call Transfer Records*

       F.6.    Calls Transferred Despite Phone Number on Allstate’s IDNC List*

       F.7     Transfer Kings/Atlantic Post-Filing Allstate Call Transfers*

G.     Hossfeld Declaration

       G.1     HOSSFELD000052, Transcript of Call 1 (Callback)

       G.2     HOSSFELD000051, Transcript of Call 2 (Callback)


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     G.3    HOSSFELD000053, Transcript of Call 3*

     G.4    HOSSFELD00005, Recording of Call 3*

     G.5    HOSSFELD00001-2, Email from Jayne Joscelyne (Nov. 13, 2020)*

     G.6    HOSSFELD000054, Transcript of Call 6. *

     G.7    HOSSFELD000055, Transcript of Call 9. *

     G.8    HOSSFELD000056, Transcript of Call 10. *

     G.9    HOSSFELD000057, Transcript of Call 11. *

     G.10   HOSSFELD00005, Transcript of Call 12. *

     G.11   HOSSFELD00003-5, Quote for Insurance Received During Call 12. *

     G.12   HOSSFELD000183-207, Quote for Insurance Received During Call 14.*

H.   Allstate’s Discovery Responses

M.   Allstate Agency Standards August 10, 2020 (ALL0000257-284) *

N.   Group Exhibit of Reflecting Examples of Allstate Policy Changes*

O.   Non-Approved Vendors Notice Feb. 19, 2021 (ALL000036) *

P.   Non-Approved Vendors Notice Sept. 14, 2021 (ALLSTATE0117638) *

Q.   Rafford Deposition Transcript

S.   Allstate Records Retention Policy (ALL000042-43)*

T.   Warner Deposition Transcript*

U.   Wroblewski Deposition Transcript*

W.   Declaration of Alexander H. Burke




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        Aimed at controlling the “scourge of modern civilization” the Telephone Consumer

Protection Act prohibits telemarketing to consumers who have requested not to receive calls. 47

C.F.R. § 64.1200(d). These provisions are known as the “internal do not call” or “company

specific” do-not-call rules, and are referred to hereinafter as “IDNC.” The IDNC regulations

require all companies that make telemarketing calls, or that accept business derived from

telemarketing calls, to establish and implement compliant IDNC policies and practices, and

prohibits all telemarketing calls unless its requirements are met.

        These regulations sweep in broad strokes, and prohibit all telemarketing calls by or on

behalf of a company, unless there are proper policies, practices and procedures in place.

        Allstate’s formal, written IDNC policy, Ex. A 1, is defective because it impermissibly

allows Allstate and third-party telemarketers to call phone numbers that are on Allstate’s IDNC

list, if the caller believes it has “express written invitation or consent.” No such exception exists

under the TCPA’s IDNC regulations. Because of this improper policy, neither Allstate nor its

telemarketers scrub phone numbers they believe they have “consent” to call against any IDNC

list. Ex. B, 1st Lim Dep. at 44:3-8; Ex. C, 2d Lim Dep. at 96:3-7; Ex. D, Basit Dep. at 18:14-19.

Allstate’s IDNC policy thus specifically authorizes anyone making telemarketing calls on its

behalf to call phone numbers that are on its IDNC list, in direct violation of the TCPA.

        Such Plaintiff seeks certification of a Fed.R.Civ.P. 23(b)(3) damages class to redress past

violations, as well as a Fed.R.Civ.P. 23(b)(2) injunctive relief class to prevent future violations.

The Fed.R.Civ.P. 23(b)(3) class is defined as:

        Damages Class: All residential telephone subscribers in the United States (i) to
        whom more than one call was made for the purpose of encouraging the purchase of

1
  Plaintiff is filing concurrently a motion for summary judgment, and will use the same exhibit
labeling protocol herein as in the Statement of Material Facts. This motion will only attach those
exhibits referenced herein.
                                                   1
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         Allstate goods or services (including to find a marketing “lead” for Allstate goods
         or services) in any 12-month period, (ii) to the telephone number of a residential
         subscriber, (iii) where that phone number had been added to Allstate’s or any
         telemarketer calling for Allstate’s internal do-not-call list at least 31 days prior, and
         (iv) where the DNC request happened no longer than five years before at least one
         call.

Plaintiff also requests that the Court certify the following injunctive class pursuant to

Fed.R.Civ.P. 23(b)(2):

         Injunctive Class: All residential telephone subscribers in the United States who
         requested – either directly to Allstate or through a person engaged in developing
         business for Allstate – not to receive Allstate telemarketing calls to such residential
         telephone number.

Plaintiff requests that the Court enjoin Allstate from accepting business derived from

telemarketing until it brings its IDNC policies, practices and procedures and into compliance,

and creates a complete Master IDNC List. Alternatively, the Court should find that the requisites

for an injunction are present, but abstain from entering a final injunction as Judge Kennelly did

in Snyder v. Ocwen Loan Servicing, LLC, 258 F.Supp.3d 893, 916 (N.D.Ill. 2017), so that the

parties may confer and try to agree as to an injunction’s appropriate scope.

I.       BACKGROUND

         A.      The TCPA

         With bipartisan support, President George H.W. Bush signed the TCPA into law on

December 20, 1991, to address widespread public outrage over the proliferation of intrusive,

nuisance calling practices. Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012). Congress

directed the FCC to “initiate a rulemaking proceeding concerning the need to protect residential

telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which they

object.” 47 U.S.C. § 227(c)(1). After evaluating different approaches through public comment,

the FCC adopted the original version of the IDNC regulations, which banned initiating telephone


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solicitations absent procedures to prevent calls to consumers who didn’t want them. See 1992

TCPA Order, 7 FCC Rcd. 8752 at ¶¶ 7, 10-24 (1992) (citing 47 U.S.C. § 227(c)).

        The 2003 Do-Not-Call Implementation Act directed the FCC to issue regulations

strengthening the TCPA’s privacy protections. Pub. L. No. 108-10, 117 Stat. 557 (2003); see

also 2003 TCPA Order, 18 FCC Rcd. 14014 ¶ 15 (2003). The FCC thus implemented the

National Do Not Call Registry and made other changes to the TCPA. 2003 TCPA Order, 18 FCC

Rcd. 14014 ¶ 28; 47 C.F.R. § 64.1200(c)(2). The biggest 2003 change to the internal do-not-call

regulations was to apply them to any “telemarketing” calls, rather than “telephone solicitations.”

2003 TCPA Order, 18 FCC Rcd. 14014 ¶ 96 (citing “amended rule at 47 C.F.R. § 64.1200(d)”).

This change abolished any “existing business relationship” (“EBR”), permission/invitation, or

consent exemption for internal do-not-call claims. As the FCC observed at that time,

“‘established business relationship’ … is not an exception to the company-specific do-not-call

rules.” 2003 TCPA Order, 18 FCC Rcd. 14014 at fn. 351. The FCC reiterated this point in 2005:

        Once the consumer makes a company specific do-not-call request, whether to the
        company or third party, the company and its third party telemarketer may not call
        the consumer again on behalf of that company to make a telephone solicitation
        regardless of whether the consumer continues to do business with the company.

In re TCPA, 20 FCC Rcd. 13664, 13668 ¶ 7 (2005). This FCC order also makes clear that IDNC

requests must be coordinated among sellers, agents and subagents. Id.; accord U.S. v. Dish

Network, LLC, 954 F.3d 970, 976 (7th Cir. 2020). 2 In other words, sellers must compile a Master

IDNC List so that (a) do-not-call requests made to a subvendor are result in that phone number




2
        Although Dish concerned both the TCPA and the FTC’s Telemarketing Sales Rule, this
portion of the opinion only mentions the TSR. However, the FTC’s internal do-not-call rules are
“designed to track the approach in the FCC Rule” in the TCPA. United States v. Dish Network,
LLC, 75 F.Supp.3d 942, 954 (C.D.Ill. 2014) (quoting Notice of Proposed Rulemaking, Ams. to
the Telemarketing Sales Rule, 67 FR 4492, 4516 (January 30, 2002)).
                                               3
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being added to the Master IDNC list, and (b) those requests are honored by all the seller’s other

subvendors. 954 F.3d at 970.

       B.      Facts

               1.      Allstate’s Internal Do-Not-Call Policy

       Allstate’s internal do-not-call policy permits telemarketing calls to persons who requested

not to receive telemarketing calls, but who are believed to have provided consent to receive calls:

       Do not initiate a telephone call to phone numbers on the Allstate Do Not Call list for
       the purpose of encouraging the purchase of products or services, unless a consumer
       or customer on the Allstate Do Not Call list has made an inquiry about a product or
       service as evidenced by an express written invitation or consent to call the person
       and phone number.

Ex. A at ¶1. This policy applies to Allstate insurance agents, and Allstate requires that it be

provided to and adhered to by third-party, non-contracted telemarketing vendors, too. Ex. B, 1st

Lim Dep. at 74:5-11; Ex. C, 2d Lim Dep. at 48:2-49:8. In practice, this means that “if [a caller on

behalf of Allstate has] express written invitation or consent to call you don’t need to scrub against

[Allstate’s IDNC] scrubbing tool.” Ex. B, 1st Lim Dep. at 44:3-8.

               2.      Allstate’s Internal Do-Not-Call List

       Allstate maintains an internal do-not-call list, but the list is incomplete, cumbersome to

use and unavailable to those who perhaps need it most: Non-Contracted Telemarketers. Ex. B, 1st

Lim Dep. at 46:7-23. And although Allstate has the                                                , Ex.

S, Retention Policy at ALL00042-43; Ex. C, 2d Lim Dep. at 27:18-32:10, it does not investigate

as to whether its IDNC list is complete and up-to-date or even inquire as to whether Non-

Contracted Telemarketers are complying with its                                              . Ex. B,

1st Lim Dep. at 55:4-8; Ex. C, 2d Lim Dep. at 54:11-57:17.

       Instead of properly maintaining its IDNC list, Allstate blindly tasks others with updating


                                                  4
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its IDNC list. However, that process makes doing so virtually impossible. Allstate’s system will

not permit Non-Contracted Telemarketers to scrub against, or add numbers to its IDNC list. Ex.

B, 1st Lim Dep. at 46:7-23 (not permitted to scrub), 57:24-58:13 (not permitted to add numbers).

Instead, Allstate agents are required to submit both phone numbers and names into the system.

Ex. B, 1st Lim Dep. at 47:23-50:3. 3

        The effects of Allstate’s illegal and improper IDNC policies is manifest when one

considers their effect on Transfer Kings’ calling. Had Allstate exercised its inspection and audit

rights, Ex. S (retention policy), truly investigated the facts of this case or done even a cursory

review of its IDNC list, it would have noticed that Allstate’s IDNC list has 1,578,935 phone

numbers on it, Ex. F, FRE 1006 Summary ¶ 4, whereas Transfer Kings’ IDNC list has only

120,289 unique numbers on it. Id. ¶ 5. The two lists overlap by only 1,850 phone numbers, Id. ¶

6, meaning Allstate’s IDNC list is incomplete by more than 118,000 phone numbers and Transfer

Kings’ list is incomplete by some 1.4 million phone numbers. 4

        Because of both Allstate’s improper consent exception and the fact that its IDNC list is

incomplete, those 118,000 consumers are eligible for telemarketing calls by Allstate, its

Contracted Telemarketers and any of the myriad Non-Contracted Telemarketers who – like

Transfer Kings – develop business for Allstate, even though they should not be.

               3.      Plaintiff’s Experience




3
        Once a consumer who requested no phone calls is added to Allstate’s IDNC list, that
person becomes eligible to receive Allstate marketing communications. Ex. B, 1st Lim Dep. at
99:10-23.
4
        Allstate also has a DNC Reversal policy that permits consumers who have previously
requested not to receive telemarketing to change their minds. Ex. B, 1st Lim Dep. at 20:12-16.
Such persons may send Allstate or an Allstate agent a signed, dated letter requesting such, and
they will be removed from the IDNC list. Id. at 63:17-64:18; Ex E (ALL000716). Not
surprisingly, requests to receive more telemarketing almost never happen. Id. at 63:17-64:18.
                                                 5
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       Plaintiff received at least fourteen telemarketing calls advertising Allstate goods and

services since November 11, 2020, Ex. G, Hossfeld Declaration at ¶¶ 4-35, even though his phone

number has been on Allstate’s IDNC list since July 10, 2020. Ex. H (Interrogatory 1, pdf page 6).

Allstate’s policy of permitting calls to IDNC-listed telephone numbers is the primary reason

Plaintiff received those calls, because Transfer Kings was following this policy. Ex. D, Basit Dep.

at 81:21-82:4. A secondary reason Plaintiff received these calls is because Allstate does not

maintain a Master IDNC List, Ex. D, Basit Dep at 25:6-12 (IDNC list not shared with Allstate),

and because Allstate has set up impermissible and unreasonable roadblocks to non-contracted

telemarketers scrubbing their call lists or otherwise complying. E.g. Basit Dep. at 78:19-79:1

(Transfer Kings asked for help complying with Allstate’s IDNC policies, and was rejected).

       Allstate has been recalcitrant such that Plaintiff continues to receive Allstate telemarketing

calls during the pendency of this lawsuit. The lawsuit was filed on December 1, 2020, Dkt. 1, and

Plaintiff received Allstate telemarketing calls on February 8, 2021, April 7, 2021, September 3,

2021, and September 22, 2021; Allstate issued Plaintiff quotes for insurance on the August 7,

2021, and September 22, 2021, calls. Ex. G, Hossfeld Dec. at ¶¶ 28-35; Exs. G.11 & G.12

(quotes). What is more, although Allstate knew that Transfer Kings was not scrubbing for IDNC

and did not have access to Allstate’s IDNC list, Allstate issued 4,169 quotes and wrote 136

policies arising directly from Transfer Kings’ telemarketing calls made with the same policies and

practices in place that this lawsuit challenges, after this lawsuit was filed. Ex. F, Data Summary at

¶ 13. The proposed classes should thus be certified, so that Plaintiff and those like him can

recover damages from Allstate, and to wrench compliance from this unrepentant TCPA violator.

II.    LEGAL STANDARD

       In order to certify a class, a plaintiff must satisfy the requirements of Rule 23. First, a


                                                  6
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proposed class must meet all the requirements of Rule 23(a): (1) numerosity; (2) commonality;

(3) typicality; and (4) adequacy of representation. Messner v. Northshore Univ. HealthSystem,

669 F.3d 802, 811 (7th Cir. 2012). Next, the proposed class must qualify as a type described in

Rule 23(b). “Class certification is normal in litigation under [the TCPA], because the main

questions … are common to all recipients.” Ira Holtzman, C.P.A., & Assocs. v. Turza, 728 F.3d

682, 684 (7th Cir. 2013). The proposed Classes meet the requirements of Rule 23(b)(2) and

23(b)(3), and they should be certified.

III.   ARGUMENT

       A.      The Classes Are Clearly and Objectively Defined.

       The Seventh Circuit has rejected the notion that a Plaintiff must identify particular class

members pre-certification; instead, a proposed class need only “be defined clearly and based on

objective criteria.” Mullins v. Direct Digital, LLC, 795 F.3d 654, 659 (7th Cir. 2015).

Identification of individual class members is an administrative task reserved for notice and for

disbursing money after judgment.

       As in Mullins, both of Plaintiff’s proposed Classes identify particular groups of

subscribers in objective terms. The proposed class members were harmed – or are imminently

threatened with harm – in the same way, because their privacy was or likely will be invaded in

an identical manner. Gebka v. Allstate Ins. Co., 2021 WL 4951520, at *2 (N.D.Ill. Oct. 25, 2021)

(citing Gadelhak v. AT&T Serv., Inc., 950 F.3d 458, 463 (7th Cir. 2020)). The Classes thus each

represent “a particular group, harmed during a particular time frame, in a particular location, in a

particular way.” Mullins, 795 F.3d at 660; cf. City Select Auto Sales Inc. v. BMW Bank of N. Am.

Inc., 867 F.3d 434, 445 (3d Cir. 2017) (reversing certification denial in TCPA case).




                                                 7
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        And although we do not yet know the full scope of who is in each Class, determining

such for notice and judgment purposes will be administratively feasible. In the event of class

certification, Allstate will gather the disparate IDNC lists and calling data from all agents, and

contracted and non-contracted vendors thereof. The IDNC lists will be compiled to create a

Master IDNC List. Class member demographic information will be culled from records of calls

that Allstate either already has (in the case of Contracted Telemarketers), or has the absolute

contractual right and practical ability to obtain pursuant to Paragraph 19 of its Do Not Call

policy, Ex. A, and                             , Ex.S; Second Lim Dep. at 27:18-32:10.

        Then the agents, contracted telemarketers, and non-contracted telemarketers’ call data

will be compared with the Master IDNC List to determine which calls were made to telephone

numbers that were on a DNC list at the time of such call. Residential phone numbers that

received more than one call advertising Allstate in a 12-month period after having been on an

IDNC list for 31 days or more, from any combination of callers have a claim for damages

pursuant to 47 U.S.C. § 227(c)(5). Subscribers for the phone numbers that are on the Master

IDNC List are members of the injunctive class.

        B.      All Rule 23(a) Requirements Are Satisfied. 5

                1.      Both Classes Are Sufficiently Numerous.

        Under Fed.R.Civ.P. 23(a)(1)’s numerosity requirement, “a court can certify a class

without first determining its exact size as long as it is reasonable to believe the class is large

enough to make joinder impracticable.” Snyder, 258 F. Supp. 3d at 903 (citing Chapman v.

Wagener Equities Inc., 747 F.3d 489, 492 (7th Cir. 2014)). “[C]ourts have found the numerosity

element satisfied where the putative class would number in the range of as few as ten to forty



5
        Plaintiff is not moving to certify the ID Failure Class.
                                                   8
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class members.” Westefer v. Snyder, 2006 WL 2639972, at *2 (S.D. Ill. Sept. 12, 2006) (citing

cases).

          Here, Plaintiff has demonstrated that there are 33 residential subscribers 6 – including

Plaintiff – who fall within the Rule 23(b)(3) class definition as to Transfer Kings calls alone:

They received more than one Allstate marketing call within twelve months, when they had been

on Allstate’s do-not-call list for 31 days or more. Ex. F, Call Summary ¶ 12 & Ex. 6.

          These numbers are just the “tip of the iceberg”: Allstate’s incomplete IDNC list and

improper consent exception applied company-wide, to and/or implicated all contracted and non-

contracted vendors making calls on behalf of Allstate, not just Transfer Kings. So, for example,

there are certain to be phone numbers on other Non-Contracted Telemarketers’ IDNC lists that are

missing from both Allstate and Transfer Kings’ lists, who Transfer Kings called. Thus, the true

number of class members is certain to be in the tens or hundreds of thousands.

                 2.      Common Questions of Law or Fact Exist.

          Fed.R.Civ.P. 23(a)(2)’s commonality requirement for class certification requires that

“there are questions of law or fact common to the class.” This case challenges Allstate’s IDNC

policy and systematic telemarketing practices over the course of more than five years, going back



6
         The TCPA provides a “rebuttable presumption” for claims raised under section 227, that
phone numbers an individual has requested not to receive calls on are those of “residential
subscribers,” In re TCPA, 18 FCC Rcd. 14014, 14039, at ¶36 & fn 139 (2003), a presumption
buttressed by the fact that the calls that are the subject of this case were made to sell consumer
insurance policies to individuals. Ex.Q. Rafford Dep. at 16:14-17:5. Allstate has not presented
any information that might rebut this presumption. To the extent that the Court finds this
presumption insufficient, the TCPA sets objective standards for what constitutes a “residential”
or “business” line. 47 C.F.R. § 64.2305(b), (d) (defining residential subscribers as any subscriber
that is not a business) and 47 C.F.R. § 64.1100(h) (defining “subscriber” to be “the party
identified in the account records of a common carrier as responsible for payment of the telephone
bill.”). If necessary, the parties can issue subpoenas to the cellular carriers to determine which
phone numbers called were “residential subscribers” pursuant to 47 C.F.R. § 64.2305(b), (d) and
47 C.F.R. § 64.1100(h).
                                                    9
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to December 1, 2016. Whether such policy and practice complies with the TCPA or not, is a

common issue of law and fact susceptible of determination for the classes as a whole, thus

satisfying commonality. See G.M. Sign, Inc. v. Finish Thompson, Inc., 2009 WL 2581324, at *4

(N.D. Ill. Aug. 20, 2009) (collecting cases); Turza, 728 F.3d at 684 (class certification is

“normal” in TCPA cases). Other common issues include whether Allstate is liable for calls made

by others on its behalf, and whether Allstate’s violations were willful or knowing. These

questions apply equally to all class members, and can be answered using common proof and

uniform legal analysis. Commonality is thus satisfied.

                3.      Plaintiff’s Claims Are Typical.

        Fed.R.Civ.P. 23(a)(3) requires that the class representative have claims or defenses

“typical of the claims or defenses of the class.” "A plaintiff's claim is typical if it arises from the

same event, practice, or course of conduct that gives rise to the claims of other class members and

is based on the same legal theory.” Snyder, 258 F. Supp. 3d at 904. Here, Plaintiff’s claims and

the claims of the Classes follow the same factual and legal theory challenging Allstate’s written

IDNC policy and IDNC list practices. Plaintiff is just like everyone else: everyone on the class

was on Allstate’s IDNC list but received Allstate telemarketing calls anyway, and are at risk of

receiving calls in the future because of Allstate’s improper IDNC policies, practices and

procedures and incomplete IDNC list. Typicality is satisfied.

                4.      Plaintiff Will Adequately Represent the Classes.

        In analyzing adequacy, the Court considers “the adequacy of the named plaintiffs as

representatives of the proposed class’s myriad members, with their differing and separate

interests.” Gomez v. St. Vincent Health, Inc., 649 F.3d 583, 592 (7th Cir. 2011); Fed.R.Civ.P.

23(a)(4). There is no conflict between Plaintiff’s interests and those of the Classes. Plaintiff has


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demonstrated a desire and ability to protect class members’ interests by investigating, filing, and

vigorously prosecuting this case on their behalf. Ex. G, Hossfeld Decl. ¶ 3.

       Counsel, too, are adequate. Fed.R.Civ.P. 23(g)(1). They have substantial experience in

consumer protection and TCPA litigation, have investigated and identified the claims, have a

firm handle on the facts and law in this action as demonstrated in this motion, and have dedicated

the resources to represent the class. Ex. W, Burke Decl. ¶¶ 2-12. Adequacy is satisfied.

       C.      Rule 23(b)(2) Is Satisfied.

       A case may be certified as a class action under Rule 23(b)(2) where the “party opposing

the class has acted or refused to act on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

whole.” Fed.R.Civ.P. 23(b)(2). Allstate’s policy of permitting telemarketing calls to phone

numbers on IDNC lists and of failing to maintain a Master IDNC List adversely affect all

persons who have asked not to receive calls from Allstate. The requested final injunctive relief,

that Allstate correct the offending policy provisions and create and adhere to a Master IDNC

List, will benefit the class as a whole by substantially lowering the chances of them receiving

Allstate telemarketing calls in the future.

       The TCPA specifically authorizes a plaintiff to seek “both” money damages and

injunctive relief to stop violations of the Act and its corresponding regulations. 47 U.S.C. §

227(c)(5). There are two types of injunctions: a statutory injunction and a “traditional”

injunction. “When an injunction is explicitly authorized by statute, proper discretion usually

requires its issuance if the prerequisites for the remedy have been demonstrated and the

injunction would fulfill the legislative purpose..... The traditional criteria for permanent

injunctive relief need not be discussed.” United States v. Stover, 650 F.3d 1099, 1106 (8th Cir.


                                                  11
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2011) (citations omitted). For a statutory injunction, Plaintiff must prove (1) the defendant has

committed a statutory violation and (2) that there is a reasonable likelihood of future violations.

See U.S. Commodity Futures Trading Comm’n v. Oystacher, 2016 WL 3693429, at *6 (N.D. Ill.

July 12, 2016). 7 The factors for a traditional injunction are: “(1) the probability that the movant

will succeed on the merits; (2) the threat of irreparable harm to the movant should a preliminary

injunction be denied; (3) the balance between this harm and the harm that granting the injunction

will cause to the other parties litigant; and (4) the public interest.” Taylor Corp. v. Four Seasons

Greetings, LLC, 315 F.3d 1039, 1041 (8th Cir. 2003).

        The requirements for an injunction are present, regardless of which standard is applied.

               1.      Plaintiff Is Likely to Prevail on the Merits.

        The party seeking statutory injunctive relief must first demonstrate that a statutory

violation has occurred. U.S. v. Davison, 691 F. Supp. 2d 1033, 1039-40 (W.D. Mo. 2009); U.S.

v. Dish Network, L.L.C., 2016 WL 29244, at *1 (C.D. Ill. Jan. 4, 2016) (telemarketing context).

Relatedly, for a traditional injunction the plaintiff must show a likelihood of success on the

merits, which is a low threshold. D.U. v. Rhoades, 825 F.3d 331, 338 (7th Cir. 2016). “[T]he

plaintiff’s chances of prevailing need only be better than negligible.” Id.




7
         See Meyer v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036, 1043-44 (9th Cir. 2012)
(upholding preliminary injunction in TCPA class action); Hatch v. Sunbelt Commc’ns & Mktg.,
282 F. Supp. 2d 976, 979 (D. Minn. 2002) (traditional requirements need not be satisfied for
TCPA injunctions); J2 Glob. Commc’ns, Inc. v. Blue Jay Inc., 2009 WL 4572726, at *8 (N.D.
Cal. Dec. 1, 2009) (irreparable harm need not be shown to obtain TCPA injunctive relief); Lynn
v. Monarch Recovery Mgmt., Inc., 2013 WL 1247815, at *7 (D. Md. Mar. 25, 2013), on
reconsideration in part, 953 F. Supp. 2d 612 (D. Md. 2013), and aff’d, 586 F. App’x 103 (4th
Cir. 2014), as amended (Oct. 17, 2014) (“[A] complainant [in a TCPA case] need not allege or
prove irreparable harm when it invokes a statute that authorizes injunctive relief. All that need
be proved is a violation of the statute.”), but see Snyder, 258 F. Supp. 3d 893 (N.D. Ill. 2017)
(traditional injunction elements must be satisfied).
                                                   12
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        The TCPA requires that companies that accept business derived from telemarketing must

institute procedures to prevent calls to persons who have asked not to be contacted. 47 C.F.R. §

64.1200(d). 8 In order to show a violation of 47 C.F.R. § 64.1200(d), a plaintiff must show that

(a) the entity placing the calls failed to institute the proper procedures prior to the initiation of a

telemarketing call to their residential phone, 47 C.F.R. § 64.1200(d); Simmons v. Charter

Commc’ns, Inc., 222 F.Supp.3d 121, 131 (D.Conn. 2016), and (b) that they received more than

one call within a 12-month period, 47 U.S.C. § 227(c)(5).

        Allstate failed to institute the proper procedures because, contrary to the TCPA, its IDNC

policy permits telemarketing calls if the caller believes it has consent. The internal do-not-call

rules do not contain reference to any “consent” or established business relationship (“EBR”)

defense. 47 C.F.R. § 64.1200(d); Simmons, 222 F.Supp.3d at 132. As explained supra, a consent

exception existed in the TCPA’s internal do-not-call regulations until the FCC abolished it in

2003. 2003 TCPA Order, 18 FCC Rcd. 14014, ¶ 96 & fn. 351.

        In re TCPA, 20 FCC Rcd. 13664, 13664-65 ¶ 1 (2005), makes clear that Allstate is

required to maintain a “master” IDNC list:

        Once the consumer makes a company specific do-not-call request, whether to the
        company or third party, the company and its third party telemarketer may not call
        the consumer again on behalf of that company to make a telephone solicitation
        regardless of whether the consumer continues to do business with the company.

Id. at 13667-68, ¶ 7.2. 9 The Seventh Circuit reached the same conclusion when considering

internal DNC in the context of both the TCPA and the FTC’s Telemarketing Sales Rule, 16



8
        The TCPA’s internal do-not-call rules apply to both wireless numbers and residential
landlines, which encompasses the consumer-targeted telemarketing here. See 47 C.F.R. §
64.1200(e).
9
        Allstate shares its “existing business relationship” with its agents through a centralized
scrubbing system, just as described in In re TCPA, 20 FCC Rcd. at 13664-65, and uses such EBR
to defend TCPA do-not-call Registry claims arising from non-contracted vendor calls. Ex. B, 1st
                                                  13
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C.F.R. § 310 et seq., which generally mirror one another. Dish, 954 F.3d at 975. Allstate’s IDNC

list is missing about 118,000 numbers from Transfer Kings IDNC list, as well as untold other

phone numbers from other non-contracted vendors who similarly did not coordinate with

Allstate. And Allstate’s IDNC list is missing Transfer Kings’ phone numbers and certainly more

given that it has never done any sort of investigation into whether its list is complete, Ex. B, First

Lim Dep. at 65:3-22.

       Plaintiff is a class member, and has a claim, because he received ten Allstate

telemarketing calls on his residential cell phone in November 2020, and additional calls on

February 8, 2021, April 7, 2021, September 3, 2021, and September 13, 2021, Ex. G, Hossfeld

Declaration at ¶¶ 4-35, even though he had been on Allstate’s IDNC since July 2020. Ex. H

(Interrogatory 1, pdf page 6). Plaintiff received those calls as a result of Allstate’s challenged

IDNC consent policy and – to a lesser extent – incomplete IDNC list. Plaintiff’s phone number

was eligible to be called even though it was on Allstate’s IDNC list, because Transfer

Kings/Atlantic Telecom believed that he had opted in. Ex. D, Basit Dep. at 26:11-12; Ex.T,

Warner Dep. at 48:18-49:12. Further, Plaintiff was on Allstate’s IDNC list, but Allstate’s

unreasonably difficult process for scrubbing against its IDNC list (which denies “non-

contracted” vendors access to the list or any mechanism for batch lead scrubbing) prohibited

Basit from doing so. 10 Id. at 17:15-18.

       Allstate should be held vicariously liable for calls made by Transfer Kings, other non-

contracted and contracted vendors on its behalf, pursuant to its policies and practices. The Court




Lim Dep. at 274:4-14. Allstate should not be permitted to accept the benefits of that ruling
without also accepting the burden of coordinating internal do-not-call lists.
10
       See also Ex.T, Warner Dep. at 90:10-23 (Allstate
                                               ).
                                               14
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looks to the Restatement (Third) of Agency when considering vicarious liability for TCPA

violations. Bilek v. Fed. Ins. Co., 8 F.4th 581, 587 (7th Cir. 2021).

                        a.      Allstate Is Liable Because the Telemarketers Did What Allstate
                                Told Them to Do.

        A “person who orders or induces an actor’s tortious conduct is subject to liability for

harm resulting to a third person when the person ‘knows or should know of circumstances that

would make the conduct tortious if it were his own.’” Rest. (3d) of Agency § 7.04, cmt. b. This

concept holds true “even when the relationship between two persons is not a relationship of

agency.” Rest. (3d) of Agency § 7.04, cmt. b (emphasis added). “When a person is subject to

liability as a consequence of this rule, it is immaterial whether the relationship between the

person and the actor is a relationship of agency” Id. (citing Rest. (2d) of Torts § 877, “Directing

or Permitting Conduct of Another,” which also imposes liability under substantially identical

principles). Allstate’s written IDNC policy expressly permitted calls to phone numbers that were

on the IDNC list, as long as there was consent. Ex. A. Allstate thus expressly authorized the calls

at issue in this case, and should be held liable for those calls.

                        b.      Telemarketers Making Calls Pursuant to Allstate’s Polices Were
                                Its Agents.

        “Agency” is “the fiduciary relationship that arises when one person (a ‘principal’)

manifests assent to another person (an ‘agent’) that the agent shall act on the principal’s behalf

and subject to the principal’s control, and the agent manifests assent or otherwise consents so to

act.” Rest. (3d) of Agency § 1.01. The agency inquiry largely boils down to whether the principal

exercises a sufficient level of control and authority over the agent such that the principal should

be held responsible for the agent’s actions. See, e.g., Gen. Bldg. Contractors Ass’n, Inc. v.

Pennsylvania, 458 U.S. 375, 393 (1982); Fed. Pants, Inc. v. Stocking, 762 F.2d 561, 564 (7th


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Cir. 1985). In short, the principal’s right “to control the agent’s actions” is the “essential element

of agency.” Rest. (3d) of Agency § 1.01, cmt. f.

       “Control is a concept that embraces a wide spectrum of meanings, but within any

relationship of agency the principal initially states what the agent shall and shall not do, in

specific or general terms.” Rest. (3d) of Agency § 1.01, cmt. f. The ability to control can be

evinced by “the capacity throughout the relationship to assess the agent’s performance, provide

instructions to the agent, and terminate the agency relationship by revoking the agent’s

authority.” Id.; cf. Futrell v. E-Rate Prog., 2017 WL 3621368, at *5 (E.D.Mo. Aug. 23, 2017).

       United States v. Dish Network, LLC upheld the District Court’s finding of agency based

on the defendant’s contract with its telemarketing agents, alone. Dish Network was an IDNC case

where the defendant argued it couldn’t be held liable because contracts with its telemarketers

disclaimed agency and prohibited them from violating the law. 954 F.3d at 975. The Seventh

Circuit found that two clauses in Dish’s standard contract, which (1) required the telemarketers

to comply with Dish’s rules, and (2) allowed Dish to change the rules at any time, demonstrated

the right to control sufficient for agency. Id. The Court also found it relevant that the

telemarketers lacked their own inventory and were not merely resellers of Dish products. Id.

       Here, not only does Allstate enjoy the right to control its agents’ and their telemarketers’

day-to-day activities, it exercised that right as to the telemarketing at issue. For example, Allstate

designed and imposed its IDNC policy upon its insurance agents as well as their Non-Contracted

Telemarketers,

                                                                                      . Ex. M & N

(Agency Standards). Allstate similarly unilaterally imposed revised DNC policies five times

since March 2016. Ex. A.


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                                                . Ex. O & P. This demonstrates – like in Dish –

Allstate’s absolute right and sole discretion to tell agents and their vendors how to telemarket.

Allstate also controls the specific telemarketing

                                                                                            .



                                                          Ex. O & P. 11

         And just like in Dish, Allstate agents are                        . Ex. Q, Rafford Dep. at

15:11-21. They enter information directly into Allstate’s computer quoting system, have no

inventory, and are not resellers of Allstate products and services. Id.; Ex. B, 1st Lim Dep. at

28:16-29:23, 39:2-23, 75:10-17 (discussing exclusive nature of agents’ relationship and access to

Allstate’s system, including quote, customer, and instructional information); In re Dish, 28 FCC

Rcd. 6574, 6592 (2013) (evidence that the seller “allows the outside sales entity access to

information and systems that normally would be within the seller’s exclusive control” supports a

finding of vicarious liability, including “access to detailed information regarding the nature and

pricing of the seller’s products and services or to the seller’s customer information[;]” [l]ikewise,

“[t]he ability by the outside sales entity to enter consumer information into the seller’s sales or

customer systems, as well as the authority to use the seller’s trade name, trademark and service

mark may also be relevant” to establishing an agency relationship).

         All of the indicia of control that the Seventh Circuit in Dish found dispositive as to an

agency relationship, and most of the factors the FCC identified in its 2013 Order are present.

                        c.      Allstate Cloaked Agents and Telemarketers with the Appearance
                                of Agency.



11
       See Ex. B, Basit Dep. at 52:22-53:19 (testifying Transfer Kings continued to solicit
business for Allstate throughout these proceedings, without instruction to the contrary).
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       “Apparent authority is the power held by an agent or any other actor to affect a principal's

legal relations with a third party when a third party reasonably believes the actor has authority to

act on behalf of the principal and that belief is traceable to the principal's manifestations.” Morris

v. Novastar Mortg., Inc., 2006 WL 2707349, at *6 (W.D. Mo. Sept. 19, 2006). Apparent

authority “does not presuppose the present or prior existence of an agency relationship.” Rest.

(3d) of Agency § 2.03, cmt. a. “Apparent authority in an agent is such authority as the principal

knowingly permits the agent to assume or which he holds his agent out as possessing—it is such

authority as a reasonably prudent man, exercising diligence and discretion, in view of the

principal’s conduct, would naturally suppose the agent to possess.” Malcak v. Westchester Park

Dist., 754 F.2d 239, 245 (7th Cir. 1985); see Salyers v. Metro. Life Ins. Co., 871 F.3d 934, 940

(9th Cir. 2017).

       Allstate’s do-not-call policy mandates that “the name of the person or business on whose

behalf the call is being made, the purpose of the call, [and] the products or services that are the

subject of the call” be stated during calls. Ex. A ¶ 2. This policy applies to anyone making calls

to sell Allstate goods and services, including third-party non-contracted vendors. Ex. B, 1st Lim

Dep. at 74:5-16. An ordinary, reasonable, person receiving a telephone call where the caller says

they’re Allstate, or calling to sell Allstate goods and services would believe that Allstate

authorized the call, and such belief would be directly traceable to Allstate’s policy. This policy

directive “cloaked” third-party vendors and agents with the appearance that the calls were

authorized by Allstate (of course, this was true, because the calls were authorized by Allstate),

and thus – regardless of formal agency – had the effect of such, making Allstate liable. Brown v.

DirecTV, LLC, 2021 WL 5755044, at *1 (C.D.Cal. Dec. 1, 2021).




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                       d.      Allstate Ratified the Calling Challenged in this Case.

       “Ratification is the affirmance of a prior act done by another, whereby the act is given

effect as if done by an agent acting with actual authority.” Rest. (3d) of Agency § 4.01(1). This

may occur through the knowing retention of the benefits of the act, or by “willful ignorance”—

i.e., where the principal may not know the material facts, but has “ratified with awareness that

such knowledge was lacking.” Rest. (3d) of Agency § 4.01, at cmt. b; Henderson v. United

Student Aid Funds, Inc., 918 F.3d 1068, 1075 (9th Cir. 2019). “Ratification may create a

relationship of agency when none existed before[,]” Rest. (3d) of Agency § 4.03 cmt. a, and the

“benefit” retained need not be monetary. E.g., Keim v. ADF Midatlantic, LLC, 2015 WL

11713593, at *8 (S.D. Fla. 2015); Klein v. Commerce Energy, Inc., 256 F. Supp. 3d 563, 588

(W.D. Pa. 2017).

       Perhaps the most compelling evidence of ratification here are that: (1) Allstate has not

changed its internal do-not-call policies or practices as a result of this case, and (2) it permitted

Transfer Kings and Atlantic to



        . Ex. C, 2d Lim Dep. at 47:17-49:8, 58:13-60:19; Ex. D, Basit Dep. at 52:22-53:19.

       Allstate’s internal investigation as to this case, too, demonstrates that it knowingly

“doubled down” on its improper IDNC consent policy, thus ratifying it. A few days after this

case was filed, two separate Allstate investigators,




                                                                                    . Ex. T, Warner

Dep. at 50:2-51:2. The investigators did not ask whether


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                                                . Ex. T, Warner Dep. at 47:13-48:6, 91:2-17; Ex.

U, Wroblewski Dep. at 24:11-19, 40:5-9. And despite



ALL00042-43; Ex. C, 2d Lim Dep. at 27:18-32:10,

                              Ex. T, Warner Dep. at 35:3-13, 36:11-37:20, 50:2-51:2; Ex. U,

Wroblewski Dep. at 24:11-25:22.

       Most importantly, Allstate issued 4,169 quotes and wrote 136 policies arising directly

from Transfer Kings’ telemarketing calls made with the same policies and practices in place that

this lawsuit challenges, after this lawsuit was filed. Ex. F, Data Summary at ¶ 13.

       In sum, Allstate still enforces – and certainly has not disavowed – its noncompliant IDNC

consent exception policy, and still uses an IDNC list it knows to be incomplete because it neither

(1) incorporates the IDNC lists of its agents’ non-contracted telemarketing vendors, nor (2)

coordinates a master IDNC list amongst all subvendors. These actions and omissions constitute

ratification, Braver v. NorthStar Alarm Services, LLC, 2019 WL 3208651, at *13 (W.D.Okla.,

Jul. 16, 2019), and Allstate should be held liable for telemarketing calls that violated the TCPA

because of this improper policy that it ratified.

               2.      Absent Injunctive Relief, Allstate Will Continue to Accept Business
                       Derived from Illegal Telemarketing.

       In an action for a statutory injunction, once a violation has been demonstrated, the

moving party need only show that there is a reasonable likelihood of future. Davison, 691 F.

Supp. 2d at 1039-40; FTC v. Lifewatch Inc., 176 F. Supp. 3d 757, 786 (N.D. Ill. 2016). The

likelihood of future harm to consumers here is certain, because

                                Ex. C, 2d Lim Dep. at 47:17-48:12. Indeed, because of Allstate’s

recalcitrance, Plaintiff continues to receive calls advertising Allstate. Ex.G, Hossfeld Decl. ¶¶

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28-35. Allstate’s refusal to come into compliance is even more egregious because



                                                              . Ex. U, Rafford Dep. at 52:12-53:6.

               3.      The Court Should Order a Nominal Bond or No Bond.

       Fed. R. Civ. P. 65(c) requires that a movant for a preliminary injunction give “security …

in such sum as the court deems proper” before any preliminary injunction issues. “Courts in this

circuit have almost always required a bond before issuing a preliminary injunction ... but

exceptions have been made ... where the damages resulting from a wrongful issuance of an

injunction have not been shown.” Richland/Wilkin Joint Powers Auth. v. United States Army

Corps of Engineers, 826 F.3d 1030, 1043 (8th Cir. 2016) (affirming lower court not ordering

bond; “some courts have not required a bond, or have only required a minimal bond”).

Moreover, Plaintiff works at an Amazom.com warehouse and cannot afford to pay a large bond.

Ex. G Hossfeld Dec. ¶ 36. However, this is the rare case where a bond is unnecessary because

the requested injunction is not preliminary; instead, it will be entered as part of the final

judgment.

               4.      Absent an Injunction, Plaintiff and the Classes Will Be Irreparably
                       Harmed.

       “In order to demonstrate irreparable harm, a party must show that the harm is certain and

great and of such imminence that there is a clear and present need for equitable relief.” Iowa

Utilities Bd. v. FCC, 109 F.3d 418, 425 (8th Cir. 1996). Allstate’s ongoing TCPA violations

pose irreparable harm to Plaintiffs and proposed class members because the violations just “keep

on coming” despite this lawsuit.

       There is no evidence that Allstate has (1) remedied its defective policy permitting calls

that are on its IDNC list if there is “consent,” or (2) shored up its incomplete IDNC list. To the

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contrary, all evidence shows that the challenged policy is still active and IDNC list still

incomplete. Ex.G, Hossfeld Decl. ¶¶ 28-35; Ex. U, Rafford Dep. at 52:12-53:6.

       Meyer v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036, 1044 (9th Cir. 2012), is

instructive. After suggesting that a TCPA plaintiff probably does not need not show “irreparable

harm,” the Ninth Circuit declined to decide that issue. Instead, that Court found that the plaintiff

and “other class members will suffer irreparable harm from [the debt collector’s] continuing

violations of the TCPA, which violate the class members' right to privacy, and because the

district court found in its written order that [the debt collector] would continue to violate the

TCPA if an injunction was not issued. Id. at 1044. Here, such ongoing violations are not a

possibility, they have already happened.

               5.      Money Damages Are Not an Adequate Remedy.

       The TCPA authorizes money damages, an injunction or “both.” 47 U.S.C. § 227(c)(5).

This demonstrates an acknowledgment that compensating past wrongs through money damages

will not necessarily prevent future illegal calls. Congress included injunctive relief as a remedy,

recognizing that other remedial tools “that might allow consumers to avoid receiving such calls

are not universally available, are costly, are unlikely to be enforced, or place an inordinate

burden on the consumer.” TCPA, PL 102–243, 105 Stat 2394 (Dec. 20, 1991); see also

“Background and Needs” section of Senate Report 102-178, finding as a justification for the law

that “Consumers are especially frustrated because there appears to be no way to prevent these

calls.” S. Rep. 102-178, 1, 1991 U.S.C.C.A.N. 1968, 1969 (Oct. 8, 1991).

       Allstate has made clear that the specter of money damages alone will not bring it into

compliance, because it has refused to alter its policies and practices. Injunctive relief is therefore

necessary to wrench it into compliance.


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                6.      The Balance of Harms Favors the Proposed Injunction.

        Allstate’s refusal to bring its system into compliance with the TCPA despite this lawsuit

and its capability to (1)




                                                                      , Ex. Q, Rafford Dep. at 52:9-

53:6; Ex. B, 1st Lim Dep. at 106:2-16.

        “Where the only hardship that the defendant will suffer is lost profits from an activity

which has been shown likely to [violate the law], such an argument in defense merits little

equitable consideration on an appeal from a preliminary injunction.” Cadence Design Sys., Inc.

v. Avant! Corp., 125 F.3d 824, 830 (9th Cir. 1997); Hatch v. Sunbelt Commc’ns. & Mktg., 282

F.Supp.2d 976, 980 (D. Minn. 2002) (“no justification for why [Defendants] are entitled to profit

in the interim, unencumbered by competition that is now undoubtedly suppressed due to the

existence of a clear federal statute prohibiting their business practices.”).

        Further, “courts will not balance the equities […] where the defendant’s conduct has

been willful.” See U.S. v. Bethlehem Steel Corp., 38 F.3d 862, 867-68 (7th Cir. 1994). Here, it

is clear that Allstate continues to willfully violate the TCPA’s IDNC rules for financial benefit. It

has not altered its policies or practices or shored up its IDNC list in the 18 months since this

action was filed. Thus, the Court need not balance the equities, but if it does, the equities favor

entering an injunction.

                7.      A Preliminary Injunction Is in the Public Interest.

        The public interest factor concerns “the effects, if any, that the grant or denial of the


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preliminary injunction would have on nonparties.” Turnell v. CentiMark Corp., 796 F.3d 656,

662 (7th Cir. 2015); Heather K. v. City of Mallard, 887 F. Supp. 1249, 1260 (N.D. Iowa 1995)

(noting “public interest” factor “frequently invites the court to indulge in broad observations

about conduct that is generally recognizable as costly or injurious[,]” and finding “no difficulty”

in identifying public interest in reference to purpose and intent of subject statute).

       No third parties will be harmed by an injunction tailored to bring Allstate’s IDNC

policies, practices and procedures into compliance. To the contrary, TCPA violations like those

the requested injunction is designed to prevent “threaten public safety and inappropriately shift

costs to consumers.” In re TCPA, 23 FCC Rcd. 559, 566 ¶ 14 (2008). An injunction is not

overbroad if it “prohibits only those actions similar to the violations already committed.”

Lineback v. Spurlino Materials, LLC, 546 F.3d 491, 506 (7th Cir. 2008); Coca-Cola Co. v.

Purdy, 382 F.3d 774, 790 (8th Cir. 2004) (injunction should not be “broader than necessary to

remedy the underlying wrong,” but noting court’s “discretion in fashioning injunctive relief”).

Plaintiff’s proposed injunction does just that: it is narrowly tailored to bring Allstate’s

telemarketing into compliance with 47 C.F.R. § 64.1200(d), and to stop telemarketing calls to

folks who asked that they stop. It is in the public interest for these systematic violations of the

TCPA arising from Allstate’s IDNC policies and incomplete IDNC list to stop.

       D.      Rule 23(b)(3) Is Satisfied.

       Here, common questions predominate over individual issues, and the class action device

is superior to other methods of adjudication. Fed.R.Civ.P. 23(b)(3).

               1.      Common Questions of Law or Fact Predominate.

       Predominance is “readily met” in certain consumer cases. Amchem Prod., Inc. v.

Windsor, 521 U.S. 591, 625 (1997). The touchstone for predominance analysis is efficiency.


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Butler v. Sears, Roebuck & Co., 702 F.3d 359, 362 (7th Cir. 2012) (“Butler I”), vac’d on other

grounds, 133 S. Ct. 2768 (2013), judgment reinstated, 727 F.3d 796 (7th Cir. 2013) (“Butler II”).

Predominance focuses on the most important issues in the case, only, because “a rule requiring

100% commonality would eviscerate consumer-fraud class actions.” Suchanek v. Sturm Foods,

Inc., 764 F.3d 750, 759 (7th Cir. 2014). 12 “[P]redominance is [not] determined simply by

counting noses: that is, determining whether there are more common issues or more individual

issues, regardless of relative importance.” Butler II, 727 F.3d at 801. “An issue ‘central to the

validity of each one of the claims’ in a class action, if it can be resolved ‘in one stroke,’ can

justify class treatment.” Id. (quoting Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551

(2011)).

         The central issues here are legal ones: Do the TCPA’s IDNC rules exempt calls made with

consent, is Allstate required to compile a Master IDNC List, and should Allstate be liable for the

actions of those who followed its policy directives? The answers to these questions are

determinable based upon common evidence and law, and will determine Allstate’s liability.

         This uniformity of factual and legal issues arising from a common set of policies and

practices is why courts routinely certify TCPA claims. See Turza, 728 F.3d at 684 (Seventh

Circuit recognizing that class certification is normal in TCPA cases because the main questions

are common to all recipients); Krakauer v. Dish Network, LLC, 311 F.R.D. 384, 394-95

(M.D.N.C. 2015) (holding vicarious liability issue predominated over individual questions in

TCPA case); Kristensen v. Credit Payment Servs., 12 F. Supp. 3d 1292, 1307 (D. Nev. 2014)




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        Indeed, “[t]he entire notion of predominance implies that the plaintiffs’ claims need not be
identical, and, as the Supreme Court has noted, a class can meet this requirement ‘even though
other important matters will have to be tried separately.’” Krakauer, 925 F.3d at 658 (quoting
Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016)).
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(certifying nationwide class of individuals who received automated calls on their cellular

telephones in violation of the TCPA and finding vicarious liability issues predominate because

agency issues such as actual authority, ratification, and apparent authority “can be resolved on a

class-wide basis”). These holdings are consistent with the Supreme Court’s observation that the

class certification requirements are “readily met” in consumer protection cases where, as here,

common factual questions center upon the defendant’s course of conduct. Amchem, 521 U.S. at

625. Accordingly, predominance is satisfied.

                2.     A Class Action Is the Superior Means for Resolving the Class’ Claims.

         A class action is the superior method for adjudicating this controversy. The TCPA’s

modest statutory relief (maximum of $500 per violation) means individual claims are generally

not economically viable. Nolan v. Reliant Equity Inv’rs, LLC, 2009 WL 2461008, at *6 (N.D. W.

Va. Aug. 10, 2009) (“relatively small recovery” under federal statute made class action superior);

Sandusky Wellness Ctr., LLC v. Wagner Wellness, Inc., 2014 WL 6750690, at *6 (N.D. Ohio

Dec. 1, 2014) (“This type of case weighs in favor of the class action as a superior device. Under

the TCPA, the maximum recovery for each class member is $1,500, and it does not allow for fee

shifting. Hence, individual class members are unlikely to litigate TCPA claims.”). 13

         Through the class action procedure, the important issues of whether consent is a defense

to IDNC claims, whether Allstate must establish a master IDNC list, and liability can be brought



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        See also Caldera v. Am. Med. Collection Agency, 320 F.R.D. 513, 519 (C.D. Cal. 2017)
(“[T]he Supreme Court has specifically contemplated plaintiffs bringing TCPA cases as class
actions.”); Siding & Insulation Co. v. Beachwood Hair Clinic, Inc., 279 F.R.D. 442, 446 (N.D.
Ohio 2012) (“Individuals are therefore unlikely to bring suit against [the defendant], which makes
a class action the superior mechanism for adjudicating this [TCPA] dispute.”); Green v. Serv.
Master On Location Servs. Corp., 2009 WL 1810769, at *3 (N.D. Ill. June 22, 2009)
(“[R]esolution of the issues [under the TCPA] on a classwide basis, rather than in thousands of
individual lawsuits (which in fact may never be brought because of their relatively small individual
value), would be an efficient use of both judicial and party resources.”).
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in one proceeding, preserving limited judicial resources, eliminating unnecessary duplication of

document and data discovery and depositions, and avoiding potentially inconsistent outcomes.

Certifying the class is the only way to “vindicat[e] the rights of individuals who otherwise might

not consider it worth the candle to embark on litigation in which the optimum result might be

more than consumed by the cost.” Deposit Guar. Nat. Bank v. Roper, 445 U.S. 326, 338 (1980).

       Indeed, the Seventh Circuit has instructed that,

       [B]efore refusing to certify a class that meets the requirements of Rule 23(a), the
       district court should consider the alternatives as Rule 23(b)(3) instructs rather than
       denying certification because it may be challenging to identify particular class
       members. [A] district judge has discretion to (and we think normally should) wait
       and see how serious the problem may turn out to be after settlement or judgment,
       when much more may be known about available records, response rates, and other
       relevant factors. And if a problem is truly insoluble, the court may decertify the
       class at a later stage of the litigation.... Under this comparative framework, refusing
       to certify on manageability grounds alone should be the last resort.

Mullins, 795 F.3d at 664; see also In re Visa Check/MasterMoney Antitrust Litig., 280 F.3d 124,

140 (2d Cir. 2001) (Sotomayor, J.) (refusing to certify a class “on the sole ground that it would

be unmanageable is disfavored and should be the exception rather than the rule”).

       This case does not present any of the manageability problems that might impact the

superiority determination in other cases. Notice can be accomplished readily because Allstate has

the

necessary to send notice. Ex. S, Retention Policy at ALL00042-43; Ex. C, 2d Lim Dep. at 27:18-

32:10. Thus, the proposed Classes meet the superiority requirements of Rule 23(b)(3). Manno v.

Healthcare Revenue Recovery Grp., 289 F.R.D. 674, 690 (S.D. Fla. 2013) (“[T]he large number

of claims, along with the relatively small statutory damages, the desirability of adjudicating these

claims consistently, and the probability that individual members would not have a great interest

in controlling the prosecution of these claims, all indicate that [a] class action would be the


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superior method of adjudicating the plaintiffs’ claims under the … TCPA.”).

IV.    CONCLUSION

       For the foregoing reasons, Robert Hossfeld respectfully requests that the Court: (1) certify

the proposed Classes; (2) appoint Plaintiff as class representative; (3) appoint his attorneys as

class counsel; (4) order Allstate to obtain and produce records sufficient to identify the class

members for purposes of effectuating direct mail and email notice under Fed.R.Civ.P.

23(c)(2)(B); (5) either:

       (a) Enjoin Allstate from accepting business derived from telemarketing unless and until it:

           (i) brings its IDNC policies and practices into compliance by at least modifying its

           written policy so that calls to phone numbers on its IDNC list are prohibited, and (i)

           compiles and makes available to all that telemarket on its behalf, a Master IDNC List

           comprised of all phone numbers of persons who have requested that Allstate or any

           Contracted or Non-Contracted vendor not call, or

       (b) Find that the requisites for Fed.R.Civ.P. 23(b)(2) are met, and direct the parties to

           confer as to the proper scope of an injunction as in Snyder v. Ocwen Loan Servicing,

           LLC, 258 F.Supp.3d 893, 916 (N.D.Ill. 2017); and

(6) grant such other and further relief the Court deems reasonable and just.


Dated: May 19, 2022                                    Respectfully submitted,

                                                       ROBERT HOSSFELD, individually and on
                                                       behalf of others similarly situated

                                                       By: /s/ Alexander H. Burke




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                                   CERTIFICATE OF SERVICE

       I hereby certify that, on May 19, 2022, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                                     /s/ Alexander H. Burke




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